                     IN THE UNITED STATES DISTRICT COURT

                           FOR THE DISTRICT OF ALASKA


 NICOLE JENSEN,

                      Plaintiff,                      Case No. 1:15-cv-00010-RRB

        vs.
                                                        ORDER OF DISMISSAL
 SAFEWAY, INC.,                                          WITH PREJUDICE

                      Defendant.




              As stipulated by the parties at Docket 46, filed April 17, 2019, it is hereby

              ORDERED that this matter is DISMISSED WITH PREJUDICE, the

parties to bear their own respective costs and attorney fees, if any.

              FURTHER ORDERED that pending motions, if any, are DENIED, and

pending deadlines and filing requirements, if any, are VACATED.

              IT IS SO ORDERED this 18th day of April, 2019, at Anchorage, Alaska.


                                                             /s/ Ralph R. Beistline
                                                           RALPH R. BEISTLINE
                                                      Senior United States District Judge




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